Case 2:05-cr-20270-.]DB Document 9 Filed 07/27/05 Page 1 of 2 Page|D 10

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FoR THE WESTERN DISTRICT or TENNESSEE _}___ v _ '
WESTERN DIVISION ¥r) act 27 P;=g 1, 13

 

UNITED STATES OF AMERICA

 

V. 05-20270-B

BRANDON THOMAS

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on M 07 7. H§O b , the United States Attorney

for this district appeared on behalf of the Hvemlgent, and the defendant appeared in person and With
counsel:

NAME VQM? Ivj¢é€/t( , 5 /;po > who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond,

The defendant, (not having made hond) (being a state prisoner) (being a federal prisoner)
(bein g held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

%Cl,¢ M}, /< v//M////

UNITED STATES MAGISTRATE JUDGE

CHARGES: l8:1029; 18:1001;

U. S. Attorney assigned to Case: S. Parker

Age: /?

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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PDA

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Honorable J. Breen
US DISTRICT COURT

